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 6
 7                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF CALIFORNIA
 8
 9 CLÉMENT OMÉTAK,                                  Case No. 22-cv-0618-LAB-
   CHRISTIAN SARCUNI, PEDRO                         DEB
10
   CUNHA, ALEXANDER LLOYD,
11 SKLIAR VIKTOR, MARC SIMON,                       STIPULATION OF
                                                    DISMISSAL WITH
12 PILICI RUSTAM, SHUAI LU,                         PREJUDICE
   EDISON HO, KIRO
13 ALEKSANDROV, JONAS                               The Hon. Larry A. Burns
14 WERNECKE, PAOLO LEITE,
   MIRAS ISSAKHOV, SOORAJ
15
   NARAYANAN, HÉCTOR ALBERT
16 GONZÁLEZ TERRÓN, MANNU
   SINGH, MARC-JULIEN LIE,
17
   SIMON SCHMID, and DANIELE
18 PENNA, on behalf of themselves
19 and other similarly situated,
20                Plaintiffs,
21         vs.
22 bZx DAO, KYLE KISTNER, TOM
23 BEAN, HASHED
   INTERNATIONAL LLC, AGE
24
   CRYPTO GP LLC, OOKI DAO,
25 LEVERAGEBOX LLC, and bZeroX
26 LLC,
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                                  Stip of Dismissal, 22-cv-0618
 1                Defendants.
 2 _______________________________
 3 Kyle Kistner,
 4               Counterclaim-Plaintiff
 5        v.
 6 CLÉMENT OMÉTAK, CHRISTIAN
   SARCUNI, PEDRO CUNHA,
 7
   ALEXANDER LLOYD, SKLIAR
 8 VIKTOR, MARC SIMON, PILICI
 9 RUSTAM, SHUAI LU, EDISON HO,
   KIRO ALEKSANDROV, JONAS
10 WERNECKE, PAOLO LEITE,
11 MIRAS ISSAKHOV, SOORAJ
   NARAYANAN, HÉCTOR ALBERT
12
   GONZÁLEZ TERRÓN, MANNU
13 SINGH, MARC-JULIEN LIE,
   SIMON SCHMID, and DANIELE
14
   PENNA,
15        Counterclaim-Defendants.
16
17
          Pursuant to Federal Rule of Civil Procedure 41, all Parties
18
     (including Plaintiffs and Counterclaim-Plaintiff) hereby dismiss with
19
     prejudice all claims against all other parties. No claims remain, and the
20
     Parties thus recommend the Court close the case.
21
          All Parties bear their own costs and fees, and no Party is considered
22
     a prevailing party.1
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24                                                 Respectfully submitted,
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26
27        1 The filing party has the authority of all signers to include their electronic signatures.

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                                      Stip of Dismissal, 22-cv-0618
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                                     Attorneys for Defendant and
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22                                   dismissed Defendants Tom Bean,
23                                   Leveragebox LLC and bZeroX LLC

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                          Stip of Dismissal, 22-cv-0618
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     Stip of Dismissal, 22-cv-0618
